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                                    IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF ARIZONA

                                                               )
            In Re Subpoena to T-Mobile Issued By Select        )            Case No. to be assigned
            Committee to Investigate the January 6th Attack on )            MOTION TO QUASH
            the U.S. Capitol.                                  )            CONGRESSIONAL
                                                               )            SUBPOENA

                             Declaration of Michael Ward in Support of Motion to Quash
                 1. I am of over 18 years of age and have personal knowledge of the facts set forth
                    herein.
                 2. I am a resident of Lake Havasu City, Arizona where my wife Kelli Ward and I own
                    a home.
                 3. I served in the United States Air Force for over 30 years, both active duty and
                    reserve.
                 4. I joined the United States Air Force after high school serving first as an Air Force
                    medic for approximately eight years. I then received a direct commission as a
                    medical officer. I served stateside during the first Gulf War. I also participated in
                    Operation Iraqi Freedom, deploying to Kirkuk Iraq in 2004. I retired in 2017 with
                    the rank of Colonel. My last assignment was as State Air Surgeon for the State of
                    Arizona. In that capacity I was the senior medical advisor to the Adjutant General.
                 5. During my time in the Air Force, I attended medical school at the Kirksville
                    College of Osteopathic Medicine in Kirksville, Missouri, where I received my
                    Doctor of Osteopathic Medicine (D.O.) degree in 1995.
                 6. After graduating from medical school, I attended a residency in emergency
                    medicine that I completed in 1999. Since that time, I have been in the active
                    practice of emergency medicine in the State of Arizona.
                 7. I work as a contractor, treating patients in various emergency departments under
                    Mole Medical. Most of these departments are near Lake Havasu City.
                 8. In certain circumstances, I will give my Mole Medical phone number to patients
                    that I care for in the emergency departments. I do this so that we can follow up,
                    via voice or text, regarding their questions, the status of their condition, and
                    whether they are improving.
                 9. I estimate that I give my number to patients several times over the course of a
                    normal week. During the COVID pandemic, I have given the number to patients
                    more frequently, in part because COVID patients have many questions about
                    their treatment, needed follow-up, and prescriptions.
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                 10. I also use the line to consult with other physicians about patients.
                 11. In addition to my medical practice as an emergency physician, I am the medical
                     director for an air ambulance company where I am constantly on call to them for
                     medical advice.
                 12. My understanding is that the subpoena issued to T-Mobile seeks the production
                     of certain information about all individuals who called, or were called, from the
                     telephone numbers associated with the account 928-486-4220 (Mole Medical)
                     between November 1, 2020 and January 31, 2021.
                 13. During this date range I was actively practicing medicine.
                 14. I cannot think of any way to know for certain exactly which incoming and
                     outgoing calls from the date range in question were with patients.
                 15. Besides my patients, I frequently exchange calls and texts with my daughter, sons
                     (and the girlfriend of one of the sons), my parents, my in-laws, aunts and uncles,
                     friends, etc. on my Mole Medical line. I also make and receive calls to and from
                     people in the political world on the line as well.
                 16. Although I see all my patients in Arizona, many of my patients have telephone
                     numbers that do not have Arizona area codes.
                 17. Because of my service as Republican nominee for elector, I have received
                     threatening and harassing messages on social media. For example, some
                     individuals have sent me messages wishing death upon me or stating that my
                     wife had performed sexual acts with President Trump.
                 18. My daughter has also received threating and harassing messages because of our
                     family’s political activities which we have had several conversations about.


                 I declare under penalty of perjury under the laws of The United States of America

            that the foregoing is true and correct and that this declaration was executed on this
            1/31/2022                       Salt Lake City             Utah
            _________________, at ____________________(city), ______________ (state).

                                                                   Michael Ward
            Signature: _____________________ Printed Name: _____________________________
